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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF CALIFORNIA

        UNITED STATES OF AMERICA                              CASE NUMBER 17CR1337-JLS

                        vs                                    ABSTRACT OF ORDER

       RANAE NORMA WOODARD                                    Booking No. 61707298


TO THE UNITED STATES MARSHAL AND / OR WARDEN, METROPOLITAN CORRECTIONAL CENTER:
           Be advised that under date of   6/28/2024
the Court entered the following order:


                     Defendant be release from custody.

                     Defendant placed on supervised / unsupervised probation / supervised release.

                     Defendant continued on supervised / unsupervised probation / supervised release.

                     Defendant released on                                                     Bond posted.

                     Defendant appeared in Court. FINGERPRINT & RELEASE.

          X          Defendant remanded and ( X              bond ) (             bond on appeal ) exonerated.

                     Defendant sentenced to TIME SERVED, supervised release for                     years.

                     Bench Warrant Recalled.

                     Defendant forfeited collateral.

                     Case dismissed.

                     Case dismissed, charges pending in case no.

                     Defendant to be release to Pretrial Services for electronic monitoring.

                     Other.




                                                                  Janis L. Sammartino
                                                                   UNITED STATES DISTRICT JUDGE
                                                                                      OR
                                                           JOHN MORRILL, Clerk of Court
                                                           by Adrianna Garcia ext. 5291



Crim-9 (Rev.     )
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From:              S., A (USMS)

To:                A. Garcia
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